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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA
                                                Criminal Action No.:
      versus                                    1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


      MOTION TO DISMISS COUNTS FOR LACK OF JURISDICTION

      COMES NOW the Defendant, CHALMER DETLING, II, by and through

undersigned counsel, and respectfully moves this Court, pursuant to Federal Rule

of Criminal Procedure 12(b) to dismiss Counts 4 through 7 and Counts 11 through

15 of the indictment for lack of federal jurisdiction. In support of this Motion, Mr.

Detling shows as follows:

                                          (1)

      Mr. Detling was indicted on August 8, 2018 and made his first appearance

in federal court on August 10, 2018. (Doc. 10). Counts 1 through 7 of the indictment

charge Mr. Detling with wire fraud, in violation of 18 U.S.C. § 1343. Counts 8

through 15 charge Mr. Detling with aggravated identify theft, in violation of 18

U.S.C. § 1028A(a)(1), and list the wire fraud counts as the related felonies. (Doc. 1).

                                          (2)

      The federal wire fraud statute provides:
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      Whoever, having devised or intending to devise any scheme or
      artifice to defraud, or for obtaining money or property by means of
      false or fraudulent pretenses, representations, or promises, transmits
      or causes to be transmitted by means of wire, radio, or television
      communication in interstate or foreign commerce, any writings, signs,
      signals, pictures, or sounds for the purpose of executing such scheme
      or artifice, shall be fined under this title or imprisoned not more than
      20 years, or both.

18 U.S.C. § 1343

                                        (3)

      The indictment alleges that Mr. Detling did knowingly cause the wire

communications in the following chart to be transmitted in interstate commerce:

 Count               Date                       Wire Communication
               (on or about)
4          April 1, 2015            Wire Transfer of $8500 from Litigation
                                    Ventures’ Citibank Account to Detling Group
                                    LLC’s IOLTA account at SunTrust
5          April 30, 2015           Wire Transfer of $2500 from Litigation
                                    Ventures’ Citibank Account to Detling Group
                                    LLC’s IOLTA account at SunTrust
6          October 21, 2015         Wire Transfer of $15,000 from Litigation
                                    Ventures’ Citibank Account to Detling Group
                                    LLC’s IOLTA account at SunTrust
7          November 4, 2015         Wire Transfer of $15,000 from Mighty
                                    Financing’s Citibank Account to Detling
                                    Group LLC’s IOLTA account at SunTrust

                                        (4)

      The indictment also provides that during the relevant period, Litigation

Ventures LLC maintained a business account at Citibank, N.A., New York, New

York and that Mighty Financing LLC maintained a business account at Citibank,

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N.A., New York, New York. (Doc. 1). According to paragraph 4 of the indictment,

“the Detling Law Group maintained IOLTA accounts at SunTrust Bank.” (Id.)

Nowhere in the indictment, however, is the geographic location of SunTrust Bank

provided.

                                         (5)

      Issues which are properly raised, and decided, by a pretrial motion to

dismiss are those that are “capable of determination without the trial of the general

issue.” Fed. R. Crim. P. 12(b). Included amongst these issues are jurisdictional

claims that the indictment “fails to invoke the court's jurisdiction or to state an

offense.” United States v. Milo, 267 F. App'x 916, 917 (11th Cir. 2008).

                                         (6)

      Without providing any geographic location for SunTrust, the indictment

fails to show that the wire communications in Counts 4 through 7 were transmitted

in interstate commerce as required by the federal wire fraud statute, and thus fail

to allege a federal offense.

                                         (7)

      Counts 11 through 15 charge Mr. Detling with aggravated identity theft

under 18 U.S.C. § 1028A. Section 1028A provides for an additional two-year term

of imprisonment when, “during and in relation to any felony violation

enumerated in subsection (c),” a defendant “knowingly transfers, possesses, or

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uses, without lawful authority, a means of identification of another person.” 18

U.S.C. § 1028A(a)(1). A “felony violation enumerated in subsection (c),” in turn,

means any offense that is a felony violation of, among others, “any provision

contained in chapter 63 (relating to mail, bank, and wire fraud).” 18 U.S.C. §

1028A(c)(5).

                                         (8)

      Counts 11 through 15 cite Counts 4 through 7 as the predicate felonies

required by the aggravated identity theft statute. Because Counts 4 through 7 fail

to allege federal wire fraud, Counts 11 through 15 do not adequately provide a

related felony and therefore, fail to allege aggravated identify theft under 18 U.S.C.

§ 1028A.

                                         (9)

      Because the indictment fails to provide the jurisdictional criteria to justify

the imposition of federal jurisdiction as affecting interstate commerce, Counts 4

through 7 and Counts 11 through 15 must be dismissed.

      WHEREFORE, Mr. Detling respectfully requests that the Court grant his

motion to dismiss counts for lack of federal jurisdiction.




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Dated:      This 30th day of October, 2018.

                              Respectfully Submitted,

                              /s/ Molly Hiland Parmer
                              MOLLY HILAND PARMER
                              GEORGIA BAR NO. 942501
                              ATTORNEY FOR MR. DETLING




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                              CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been formatted in Book Antiqua 13

pt., in accordance with Local Rule 5.1B, and was filed this day with the Clerk of

Court electronically using the CM/ECF system which will automatically sent

email notification of such filing to counsel of record:

                          Alex R. Sistla and John Ghose
                          Assistant United States Attorneys
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      Dated: This 30th day of October, 2018.

                                       /s/ Molly Hiland Parmer
                                       MOLLY HILAND PARMER
                                       GEORGIA BAR NO. 942501
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